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                      EXHIBIT A
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                                                               ESTTA Tracking number:           ESTTA720471
                                                                             Filing date:         01/14/2016
                   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                     BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD
  Proceeding       92059634
  Party            Defendant
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  Signature        /Jessica A. Ekhoff/
  Date             01/14/2016
  Attachments      Freud's Second Motion to Amend Registration.pdf(14774 bytes )
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IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

In the Matter of Registration Nos. 2,464,769 and 4,028,314
__________________________________________
                                                    )
Milwaukee Electric Tool Corporation,                )
                                                    )
               Petitioner,                          )
                                                    )
  v.                                                ) Cancellation No. 92,059,634
                                                    )
Freud America, Inc.,                                )
                                                    )
               Registrant.                          )
_________________________________________ )

      FREUD AMERICA, INC.’S SECOND MOTION TO AMEND REGISTRATION

           Pursuant to Section 18 of the Trademark Act, 15 U.S.C. § 1068, 37 C.F.R. § 2.133 and

Section 514 of the Trademark Board Manual of Procedures, Registrant Freud America, Inc.

(“Freud”), through its attorneys, hereby respectfully moves the Board to amend Registration No.

2,464,769, specifically the identification of goods therein, solely in the event that the Board

deems such amendment necessary to dismiss the cancellation. On November 17, 2015, Freud

filed a motion to amend both registrations at issue in this case (Dkt. 20). In this motion, Freud

withdraws the proposed amendments that it sought in its motion of November 17, 2015 and

seeks a revised amendment to the identification of goods in Registration No. 2,464,769. Freud is

no longer seeking any amendment to the identification of goods in Registration No. 4,028,314.

           Freud requests that the Board defer its decision on this motion until it considers the

overall merits of the present cancellation proceeding. See Embarcadero Technologies, Inc. v.

RStudio, Inc., 105 U.S.P.Q.2d 1825, 1828 (TTAB 2013) (deferring action on defendant’s motion

to amend until final decision); Space Base Inc. v. Stadis Corp., 17 U.S.P.Q.2d 1216 (TTAB

1990) (same).



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       Freud maintains that no amendment to the identification of goods in Reg. No. 2,464,769

is necessary for the Board to uphold the registration and dismiss the cancellation. If, however,

the Board ultimately finds that Freud is not entitled to registration in the absence of a restriction

to the identification of goods in the subject registration, then Freud requests, as a Section 18

affirmative defense, the following changes to the identification of goods in Reg. No. 2,464,769

(proposed new language underlined):

               “cutting tools for power woodworking machines, namely shaper

               cutters, saw blades excluding reciprocating saw blades and jigsaw

               blades, router bits and forestner bits.”

Such that the identification of goods would be amended to:

               “cutting tools for power woodworking machines, namely shaper

               cutters, saw blades excluding reciprocating saw blades and jigsaw

               blades, router bits and forestner bits.”

       As grounds for this motion, Freud states that the above proposed amendment accurately

conveys the goods it sells under its mark. Moreover, and in compliance with 37 C.F.R. § 2.173,

the amendment merely restricts the identifications of goods and does not change them in a way

that would make republication necessary. Furthermore, Freud’s proposed amendment will

further avoid a finding that Freud’s mark is so common in the industry that it cannot identify a

particular source of Freud’s goods or distinguish Freud’s goods from the goods of others, does

not function as a trademark, or is generic. Finally, Freud’s “alternative request to amend its

description of goods … is timely inasmuch as its motion was filed before the close of discovery.”

Embarcadero Technologies, Inc. v. RStudio, Inc., 105 U.S.P.Q.2d 1825, 1828 (TTAB 2013).




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       WHEREFORE, Freud requests the Board to amend Reg. No. 2,464,769 in the manner

described above if doing so would allow the cancellation to be dismissed.

Dated: January 14, 2016                     Respectfully submitted,


                                            PATTISHALL, McAULIFFE, NEWBURY,
                                             HILLIARD & GERALDSON LLP

                                                    By: /Jessica A. Ekhoff/

                                                    Thad Chaloemtiarana
                                                    Jessica A. Ekhoff
                                                    200 South Wacker Drive, Suite 2900
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                                            Attorneys for Registrant, Freud America, Inc.




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     REGISTRANT’S DECLARATION PURSUANT TO 37 C.F.R. §§ 2.173 and 2.20
       The undersigned being warned that willful false statements and the like are punishable by

fine or imprisonment, or both, under 18 U.S.C. 1001, and that such willful false statements and

the like may jeopardize the validity of the application or document or any registration resulting

therefrom, declares that all statements made of his/her own knowledge are true; and all

statements made on information and belief are believed to be true.

                                                             /Jessica A. Ekhoff/



                            CERTIFICATE OF TRANSMISSION
       I hereby certify that a true and correct copy of the foregoing FREUD AMERICA,

INC.’S SECOND MOTION TO AMEND REGISTRATION was electronically transmitted to

the Trademark Trial and Appeal Board on January 14, 2016.

                                                             /Jessica A. Ekhoff/



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of FREUD AMERICA, INC.’S SECOND MOTION TO

AMEND REGISTRATION was served upon the following by first-class mail, postage prepaid,

on January 14, 2016:

       Lori S. Meddings
       Michael Best & Friedrich LLP
       One South Pinckney Street, Suite 700
       Madison, WI 53703

                                                             /Jessica A. Ekhoff/
